     Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 1 of 8


 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
 2                            MCALLEN DIVISION
 3         JUANA CRUZ, OFELIA          )
           BENAVIDES, JOSE ELIAS       )
 4         N.G, GABRIELA VELAZQUEZ,    )
           HELESIO CRUZ, ANGELICA      )
 5         CHAVEZ, CONCEPCION PEREZ, )
           OLGA PEREZ, MAVRIGO         )
 6         SAENZ, JORGE MAOLEON,       )
           HECTOR SANCHEZ, HECTOR      )
 7         GONZALEZ, YESSY PEREZ       )
           MARTINEZ, MARIA DE          )
 8         LOURDES CRUZ, RESENDO       )
           LIEVANOS, ELIZABETH LARA, )
 9         LUIS ALBERTO ZUNIGIA        )
           CASTILLO, MIGUEL            )
10         CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343
           DANIEL LOPEZ, GILDA         )
11         RIVAS, ARMANDO MORALES DE )         JURY DEMANDED
           LLANO, LAZARO GARCIA,       )
12         MARIA DE JESUS MEDINA,      )
           RICHARD ESQUIVEL, RAFAEL    )
13         SANCHEZ, GUILLERMO RUIZ,    )
           ROSA QUINTANILLA,           )
14                                     )
                        PLAINTIFFS,    )
15                                     )
           VS.                         )
16                                     )
           DELGAR FOODS, LLC A/K/A     )
17         DELIA'S TAMALES,            )
                                       )
18                      DEFENDANT.     )
         *******************************************************
19                          ORAL DEPOSITION OF
20                           MIGUEL CABALLERO
21                             June 26, 2024
22      ********************************************************
23                      ORAL DEPOSITION of MIGUEL CABALLERO,
24      produced as a witness at the instance of the Defendant,
25      and duly sworn, was taken in the above-styled and

                                                                    Page 1

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                                                                      EXHIBIT
                                      346-293-7000
                                                                        A-5
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 2 of 8

 1   numbered cause on the 26th day of June 2024, from           1                    INDEX
 2   9:02 a.m. to 10:43 a.m., before Priscilla R. Maldonado,     2                                           PAGE
 3   CSR, in and for the State of Texas, reported by             3   Appearances..................................... 3
 4   stenograph, at the Law Offices of Ricardo Gonzalez, 124     4   MIGUEL CABALLERO
 5   S. 12th Ave, Edinburg, Texas, pursuant to the Federal       5      Examination By Mr. Quezada............... 5
 6   Rules of Civil Procedure and the provisions stated on       6   Changes and Signature........................... 45
 7   the record or attached.                                     7   Reporter's Certification........................ 47
 8                                                               8
 9                                                               9               EXHIBITS
10                                                              10   NUMBER      DESCRIPTION                               PAGE
11                                                              11   Exhibit 1 Declaration                        35
12                                                              12
13                                                              13
14                                                              14
15                                                              15
16                                                              16
17                                                              17
18                                                              18
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25
                                                       Page 2                                                                Page 4
 1           APPEARANCES
 2 COUNSEL FOR THE PLAINTIFFS:
                                                                 1            THE REPORTER: We are now on the record.
 3    RICARDO GONZALEZ                                           2   The time is 9:02 a.m., and today is June 26, 2024.
      OXFORD & GONZALEZ
 4    124 SOUTH 12TH AVENUE                                      3            This is the deposition of Miguel Caballero,
      EDINBURG, TEXAS 78539                                      4   produced at the request of Defendant in Civil Case No.
 5    Tel: 956-383-5654
      RIC@OXFORDGONZALEZ.COM                                     5   7:23-CV-00343, styled Juana Cruz et. al. versus Delgar
 6                                                               6   Foods, LLC D/B/A Delia's, commencing at 9:02 a.m.
 7 COUNSEL FOR THE DEFENDANT:
 8    STEPHEN J. QUEZADA                                         7            My name is Priscilla Maldonado, Certified
      OLGETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.             8   Court Reporter No. 12025, representing Veritext.
 9    500 DALLAS ST., STE 3000
      HOUSTON, TEXAS 77002                                       9            Would counsel please state their appearance
10    Tel: 713-655-5757
      STEPHEN.QUEZADA@OGLETREE.COM
                                                                10   for the record?
11                                                              11             MR. QUEZADA: Stephen Quezada with the
      LORENA D. VALLE
12    PORTER HEDGES LLP                                         12   Defendant.
      1000 MAIN STREET, 36TH FLOOR                              13             MR. GONZALEZ: Ricardo Gonzalez, on behalf
13    HOUSTON, TEXAS 77002-6341
      Tel: 713-226-6000                                         14   of the Plaintiffs.
14    LVALLE@PORTERHEDGES.COM                                   15                MIGUEL CABALLERO,
15    ELIZABETH SANDOVAL CANTU
      RAMON WORTHINGTON NICOLAS & CANTU, PLLC                   16   having been first duly sworn, testified through the
16    1506 SOUTH LONE STAR WAY, SUITE 5
      EDINBURG, TEXAS 78539
                                                                17   duly-sworn interpreter as follows:
17    Tel: 945-294-4800                                         18                  EXAMINATION
      ECANTU@RAMONWORTHINGTON.COM
18                                                              19   BY MR. QUEZADA:
19 ALSO PRESENT:                                                20      Q. Good morning, Mr. Caballero.
20    NICOLAS GIBLER, INTERPRETER
      ARMANDO MORALES, PLAINTIFF                                21      A. Good morning.
21    LUIS ZUNIGA, PLAINTIFF                                    22      Q. So today we're using a translator to translate
      ELIAS GUTIERREZ, PLAINTIFF
22    OLGA PEREZ, PLAINTIFF                                     23   from English to Spanish and Spanish to English. Okay?
23                                                              24      A. Yes. That's fine.
24
25                                                              25      Q. And so that's so that we can fully understand
                                                       Page 3                                                                Page 5

                                                                                                                2 (Pages 2 - 5)
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                                                   346-293-7000
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 3 of 8

 1      Q. And you and I have never spoken about your             1      A. Yes.
 2   wages or hours or your work for Delia's and how you were     2      Q. Anything else that you did with regard to
 3   paid, fair?                                                  3   production?
 4      A. Yes. No, we haven't. We haven't talked about           4      A. Well, only the -- only the masa, or the dough.
 5   that at all.                                                 5   But sometimes, I mean, maybe they, at one point or
 6      Q. Okay. What's your current address, please?             6   another, they put me in the kitchen.
 7      A. 3010 Gold Avenue in Mission.                           7      Q. Do you recall when that was that you were
 8      Q. And that's Gold like oro?                              8   working in the kitchen, as opposed to working making the
 9      A. Yes.                                                   9   masa?
10      Q. Have you ever been a party to a lawsuit before?       10      A. No. I -- I don't recall the date. That's the
11      A. No.                                                   11   truth.
12      Q. What's the highest level of education you've          12      Q. Okay. Fair enough. Your employment with
13   completed?                                                  13   Delia's was continuous from December 5, 2005 to May 2,
14      A. I studied in Mexico and I got up to middle            14   2023; is that correct? Or did you have any leaves of
15   school, or secondary school.                                15   absence or any times that you left and came back?
16      Q. Okay. Can you tell the jury why you're suing          16      A. No. The entire time I was there. From the
17   Delia's?                                                    17   moment that I joined until I was dismissed.
18      A. Because I was fired unjustly.                         18      Q. Did you receive any benefits from Delia's? I'm
19      Q. Okay. Who told you about this lawsuit?                19   sorry. Let me clarify that question. Did you receive
20      A. Fellow workers.                                       20   benefits like health insurance, vision insurance, dental
21      Q. Which fellow workers?                                 21   insurance, 401(k) from Delia's?
22      A. Well, they're called Ofelia -- I don't know her       22      A. Yes.
23   last name. And Angelica. I don't know her last name         23      Q. And what were those that you received while
24   either. Only them two.                                      24   working for Delia's?
25      Q. Okay. What is your understanding of the               25      A. Only that they gave us health insurance. That
                                                       Page 10                                                          Page 12

 1   allegations in this lawsuit?                                 1   was about it. I don't think I ever needed anything for
 2      A. Well, first of all that we were fired or               2   my eyes or for dentistry either.
 3   terminated overnight without any -- without any notice.      3      Q. And the company paid -- Delia's paid for those
 4      Q. Any other reason why you're suing Delia's?             4   health insurance benefits, correct?
 5      A. No. Only for that.                                     5      A. Yes.
 6      Q. And what's your date of birth, sir?                    6      Q. Were you ever suspended or disciplined while
 7      A. It's 10/28/73.                                         7   working for Delia's?
 8      Q. Your employment with Delia's started                   8      A. No.
 9   December 5, 2005. Does that sound about right?               9      Q. At any time, did you take any regular
10      A. Yes.                                                  10   vacations, like for summer or spring breaks or anything
11      Q. Okay. And you were continuously employed by           11   like that during your employment?
12   Delia's until your employment ended on May 2, 2023?         12      A. Yes. Yes over the vacations.
13      A. Yes.                                                  13      Q. And what were -- what were those normal
14      Q. And do you understand the reason why your             14   vacations that you took?
15   employment was terminated?                                  15      A. They gave us two weeks a year. So I took one
16      A. Because of papers. Just -- just papers. I             16   week before the middle of the year. And another week
17   didn't have any.                                            17   after the half of the year.
18      Q. Okay. And did you understand that that was            18      Q. And those were two weeks paid vacation,
19   based on an instruction from the government?                19   correct?
20      A. No.                                                   20      A. Yes.
21      Q. Okay. Your position with Delia's was                  21      Q. And while working for Delia's, you're -- you
22   production worker, correct?                                 22   were able to take the vacations -- the paid vacations
23      A. Yes.                                                  23   that you wanted to take?
24      Q. And more specifically, you prepared masa the          24      A. Yes.
25   majority of your time?                                      25      Q. Okay. And you were paid an hourly rate while
                                                       Page 11                                                          Page 13

                                                                                                          4 (Pages 10 - 13)
                                               Veritext Legal Solutions
                                                    346-293-7000
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 4 of 8

 1   working for Delia's, correct?                            1           A. No.
 2      A. Only since 2007 and on. Because when I just        2           Q. No, you did not share it?
 3   came in, they paid us by the shift.                      3           A. No.
 4      Q. Okay. Let me -- let me ask you a better            4           Q. Okay. And you understood that when you were
 5   question. From 2020 until your employment ended, you     5        working for Delia's you would punch in with your finger
 6   were paid an hourly rate, correct?                       6        or your thumb or the password?
 7      A. No. It was before.                                 7           A. Yes.
 8      Q. Okay. So I believe what you're saying then,        8           Q. And you always did that while you were working
 9   from 2017 until your employment ended, you were paid an 9         for Delia's?
10   hourly rate -- sometime in 2017.                        10           A. Yes. As of the time when they installed the
11      A. Well, that's when they started paying me by       11        computer, yes.
12   check, because before that they paid me in cash.        12           Q. And you knew that you would punch in before you
13      Q. Understood. But what I'm trying to clarify is     13        start working, correct?
14   when you started receiving payment by check, and, I     14           A. Yes.
15   believe, based on what you've described, that sometime  15           Q. And that's what you did each day you went to go
16   in 2017, correct?                                       16        work for Delia's?
17      A. Well, I really -- I don't remember, but it was    17           A. Yes.
18   before. It could have been 2008 to 2009. I don't        18           Q. And you understood that when you stopped
19   remember. But that's -- that's when they started paying 19        working, you should punch out and that was the end of
20   us by the hour.                                         20        work, right?
21      Q. Okay. Okay. When you were last working at         21           A. Yes.
22   Delia's, in May of 2023, you were being paid an hourly  22           Q. And that's what you did every day that you
23   rate, correct?                                          23        worked at Delia's, correct?
24      A. Yes.                                              24           A. Yes.
25      Q. And what was that, your last hourly rate?         25           Q. And you understood that when you took lunch or
                                                        Page 14                                                         Page 16

 1      A. 11.25.                                                  1   certain breaks, that you also needed to clock out and
 2      Q. And from the time you started being paid by             2   clock back in, correct?
 3   check, whatever that time was, you started receiving an       3      A. Yes.
 4   hourly rate for your work, correct?                           4      Q. And that's what you did everyday you went to
 5      A. Yes. By the hour. Yes.                                  5   work for Delia's, right?
 6      Q. And the only position that you held while               6      A. Yes.
 7   working for Delia's was that of production, correct?          7      Q. Okay. Was Luis Briones on site at the
 8      A. Yes. Except for the time when I was put on --           8   restaurant with you?
 9   in the -- taken away from that to be put in the kitchen.      9      A. Yes.
10      Q. Got it. Who was your supervisor?                       10      Q. About how many other people would Mr. Briones
11      A. Luis Briones.                                          11   supervise?
12      Q. So I'd like to ask you about how you were paid         12      A. The entire line and the production.
13   by check. Okay?                                              13      Q. About how many people was that?
14      A. Yes.                                                   14      A. I would say that more than 30.
15      Q. You were aware that there was a timekeeping            15      Q. Okay. In your position as a production worker,
16   system at the restaurant, correct?                           16   you were responsible for helping set up the equipment
17      A. Yes.                                                   17   used to make the masa?
18      Q. And you clocked in using your finger or thumb?         18      A. Only the ingredients.
19      A. Or with a key code.                                    19      Q. Okay. So not the equipment?
20      Q. Or with a password?                                    20      A. Well, it was only one machine. You didn't have
21      A. Yes. A password.                                       21   to prepare anything in it.
22      Q. Okay. And that was a password that was unique          22      Q. Just turn it on and it went?
23   to you?                                                      23      A. Yes.
24      A. Yes.                                                   24      Q. Fair enough. So you would gather the spices, I
25      Q. And you never shared it with anyone?                   25   take it?
                                                        Page 15                                                         Page 17

                                                                                                          5 (Pages 14 - 17)
                                                Veritext Legal Solutions
                                                     346-293-7000
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 5 of 8

 1      A. Yes.                                                  1      Q. Okay. Thank you. And all the duties we've
 2      Q. And the masa itself, was it already like              2   been discussing were duties that you accomplished
 3   pre-made masa? Or was it the ground corn and you'd have     3   between the time that you clocked in for work and
 4   to add water and do all that?                               4   clocked out at the end of the day, correct?
 5      A. The masa was already ready. It was already            5      A. Yes.
 6   prepared.                                                   6      Q. Were you aware of any policies that Delia's had
 7      Q. So you were just spicing it?                          7   while you working there?
 8      A. Yes.                                                  8      A. No.
 9      Q. And what -- what would you do after you put the       9      Q. Okay. One more question about the duties that
10   spices?                                                    10   I forgot to ask you, sir. Did -- did your duties change
11      A. Well, it was done in parts. There was a              11   over time or were they what we just discussed the entire
12   process. It was not just dumping things, you know?         12   time you worked for Delia's, except for the time you
13      Q. I see. Okay. Did you have to prepare any of          13   worked in the kitchen?
14   the meats?                                                 14      A. Well, only the fact that when I actually
15      A. No. Not the meat.                                    15   started there, the masa was done by hand.
16      Q. Did you actually make any tamales?                   16      Q. Okay. And -- and would you say that you -- and
17      A. No.                                                  17   would you say that your experience was typical, in terms
18      Q. So you were the masa guy?                            18   of punching in, starting work, punching out at the end
19      A. Yes.                                                 19   of work, it was typical for you as it was the other
20      Q. Okay. Would you set up or clean up before            20   employees?
21   or -- before you started making the masa or after you      21             MR. GONZALEZ: Objection; form.
22   started making the masa?                                   22      A. Yes.
23      A. When I arrived, no. Because my fellow worker         23      Q. (BY MR. QUEZADA) And that's true for the folks
24   was already there doing it. So what I did was just took    24   sitting in the room today with us, correct? Except for
25   over and continued. But when I was done at the end,        25   Mr. Morales who was not hourly?
                                                      Page 18                                                          Page 20

 1   then I would have to clean up.                              1            MR. GONZALEZ: Objection; form.
 2      Q. Okay. Were there any other duties that you had        2     A. No. They were -- they were salary.
 3   that we have not discussed?                                 3     Q. (BY MR. QUEZADA) Or do you know?
 4      A. No. That's it. Only the masa.                         4     A. Not much.
 5      Q. And the preparation of the masa?                      5     Q. Okay. Fair enough. So when you were paid by
 6      A. Except that if there was -- if we didn't have         6   check, you were paid weekly, correct?
 7   any people, then they would have me take away the tamale    7     A. Yes.
 8   baskets.                                                    8     Q. And when you clocked in and clocked out, you
 9      Q. Okay. Any other duties? Whether they were             9   were able to see, on the screen for the timekeeping
10   everyday duties or duties that weren't part of your        10   machine, the time in and the time out and the hours
11   normal routine that you did?                               11   worked, correct?
12      A. No.                                                  12     A. No. I couldn't.
13      Q. And you understand I'm also asking about             13     Q. Okay.
14   cleaning, setting up, disassembling anything that you      14     A. No. I couldn't see that. No. I mean, I just
15   were using at the end of the day or at the beginning of    15   came in and punched in. I really didn't --
16   the day?                                                   16     Q. Okay. I'm -- I'm just asking about what you --
17      A. Well, sometimes we did -- sometimes we did do        17   what you were able to see on the screen, or what you did
18   the cleaning.                                              18   see on the screen.
19      Q. Okay. Any other duties then, that I have not         19     A. No. I mean, just -- just my name. I mean, I
20   covered?                                                   20   would punch in, I'd see my name, and I'd get to work.
21      A. No.                                                  21     Q. Okay. And you punched in only for yourself --
22      Q. And you did all those duties?                        22   excuse me. You punched in and punched out only for
23      A. Unless perhaps I needed to get a pallet of masa      23   yourself, correct?
24   from the cooler from -- then I would get the fork lift     24     A. Yes.
25   and bring it out.                                          25     Q. And nobody else punched in or punched out for
                                                      Page 19                                                          Page 21

                                                                                                         6 (Pages 18 - 21)
                                              Veritext Legal Solutions
                                                   346-293-7000
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 6 of 8

 1   you, correct?                                                1      Q. Was there ever a time that you were confused,
 2       A. No.                                                   2   or perhaps did not understand how to use it?
 3       Q. And nobody altered your time, correct?                3      A. No.
 4       A. Only when I forgot to punch in. And I just            4      Q. So then you feel that since that timekeeping
 5   went in and I would talk to the supervisors or the           5   system was put in place, that you used it to correctly
 6   managers and asked them to punch in the time that I had      6   and accurately record your time worked?
 7   come in.                                                     7      A. Yes.
 8       Q. Fair. And you know you were able to do that,          8      Q. Did you ever explain to anyone how to use that
 9   while working at Delia's, right?                             9   timekeeping system?
10       A. Yes. I would go to them and say, you know, I         10      A. No.
11   forgot to punch in. Would you please fix my entry time?     11      Q. Did anyone ever ask you about how to use it?
12       Q. And they fixed it, correct?                          12      A. Well, only when somebody was trying to put
13       A. Yes.                                                 13   their thumbprint there and they actually needed to do
14       Q. There were no problems?                              14   something else in order to punch in.
15       A. No.                                                  15      Q. Okay. Did you receive training on how to use
16       Q. And is that the same for if you forgot to punch      16   the timekeeping system?
17   out?                                                        17      A. No. Not training. Simply Don Luis made the
18       A. I'm sorry. I didn't understand.                      18   explanation and told me you either use your fingerprint
19       Q. Just the way you described the process of            19   or you use the number here, and this is where you punch
20   correcting a forgotten punch in, if you forgot to also      20   to go in and this is where you punch to go out. And it
21   punch out, you could follow that same process to correct    21   was only once.
22   it?                                                         22      Q. Okay. And did you feel that was adequate?
23       A. Yes. Yes. There were occasions in which I            23      A. Well, yes.
24   forgot.                                                     24      Q. Okay. While working for Delia's, you never
25       Q. And that got fixed for you?                          25   made a complaint about being paid incorrectly; is that
                                                       Page 22                                                          Page 24

 1      A. Yes.                                                   1   true?
 2      Q. So every time there was a missed punch or you          2      A. Okay. Well, I never complained. But there was
 3   forgot to punch, it was corrected to your satisfaction,      3   some times when I forgot to punch in or when Don Luis
 4   right?                                                       4   would actually right down the times, I felt that they
 5      A. Yes.                                                   5   were giving me fewer hours.
 6      Q. The process that you just described of                 6      Q. Okay. Sitting here today, can you tell the
 7   correcting a forgotten punch in or correcting a              7   jury what pay periods that issue occurred?
 8   forgotten punch out, how did you learn about that            8      A. Well, no. Actually, that was when they were
 9   process?                                                     9   doing -- before the system, when they were doing it by
10      A. Well, when I arrived and I tried to punch in          10   hand. He would have a list of when we punched in, came
11   one day, it would indicate that I hadn't punched the        11   out, and so on. And sometimes I realized or felt that
12   earlier day.                                                12   my hours, according to my records, didn't match the
13      Q. And when you say "it would indicate", you mean        13   hours that he had. So I would tell him and he said, oh,
14   the timekeeping system?                                     14   I'm sorry. Or he would correct it and he would say,
15      A. Yes.                                                  15   look, I'm gonna add them to you -- for next week. And
16      Q. Do you know what the name of the timekeeping          16   then if he did -- well, I never complained. I just, you
17   system was?                                                 17   know, told him about it.
18      A. No.                                                   18      Q. And then it still got fixed, correct?
19      Q. Does -- does the name Focus ring a bell?              19      A. Yes.
20      A. Oh, yes. Yes. Yes.                                    20      Q. And that was before the timekeeping system was
21      Q. That was the timekeeping system you used?             21   put into place in 2017?
22      A. Yes.                                                  22      A. Yes.
23      Q. And you understood how to use it? You were            23      Q. Was Luis Briones your supervisor the entire
24   able to use it?                                             24   time you worked at Delia's?
25      A. Yes.                                                  25      A. No. Well, no, not all the time. I -- I don't
                                                       Page 23                                                          Page 25

                                                                                                         7 (Pages 22 - 25)
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                                                    346-293-7000
Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 7 of 8

 1   recall exactly the date when he arrived, but he came in   1     employment was May 2, 2023, correct?
 2   at around maybe 2010 or 2012, perhaps. I don't remember 2          A. Yes.
 3   when. But then as of the time he arrived, then he was     3        Q. You worked the morning shift; is that correct?
 4   my supervisor for the entire time.                        4        A. No.
 5      Q. Okay. And Mr. Briones nor any other person at       5        Q. You worked the evening shift?
 6   Delia's instructed you to not record your time            6        A. Yes.
 7   accurately, true?                                         7        Q. And what was that evening shift?
 8      A. Yes.                                                8        A. Well, there were several -- several hours for
 9      Q. Yes, that's correct?                                9     the shift. Sometimes it was from 10 to 10. Sometimes
10      A. Yes.                                               10     it was 11 to 11. Sometimes it was from 12 to 12, from
11      Q. Okay. Did you keep any notes or logs of hours      11     12 noon to 12 midnight or 12:00 a.m. And then there --
12   worked?                                                  12     unless there wasn't a lot of work at those times, then I
13      A. Well, at the beginning, no. But then when I        13     would probably leave a little earlier.
14   started feeling that I was not getting quite a -- the    14        Q. Okay. And you understand I'm just asking about
15   number of hours, then another manager told me, no, you   15     just the general shift, not what you actually punched in
16   know you should take down your -- you should take down 16       and punched out, right?
17   your hours, write them down someplace, because sometimes 17        A. Well, see, the thing is I worked there for 18
18   it won't match. And if they don't match, then you have   18     years. So at first, I was only in the morning. Then,
19   something to tell him about.                             19     they bought the machine and they started doing double
20      Q. And that was before the timekeeping system was     20     shifts, I mean, so then I was in the morning, and
21   put into place in 2017, correct?                         21     sometimes in the afternoon. So at the end, I was only
22      A. Yes.                                               22     working evenings.
23      Q. And when Delia's put in the timekeeping system     23        Q. Got it. Did you have any other jobs for any
24   in 2017, you started receiving over-time pay, correct?   24     other employers while you were working for Delia's?
25      A. Yes.                                               25        A. No.
                                                      Page 26                                                           Page 28

 1      Q. And that was for hours worked over 40 in a work       1      Q. I may have already asked you, but I don't
 2   week, correct?                                              2   remember, so apologies if I'm asking you again.
 3      A. Yes. Yes.                                             3      A. Okay.
 4      Q. And when you worked over 40 hours in a work           4      Q. Were you ever written up or suspended or
 5   week, you were paid time and a half for those hours,        5   anything like that? Disciplined in any way while at
 6   correct?                                                    6   Delia's?
 7      A. As of that date, yes.                                 7      A. Only once when I was working in the kitchen. I
 8      Q. As of the date of the timekeeping system,             8   was -- I came in late, so they gave me a -- I guess, a
 9   correct?                                                    9   tardiness slip or something. But other than that,
10      A. Well, yes. At the beginning, we were paid by         10   nothing.
11   the shift. But then when they started paying us by the     11      Q. Like a warning for being tardy?
12   hour, I remember they used to pay us all the same number   12      A. Yes.
13   of hours -- or whatever hours we worked, they paid us at   13      Q. And you mentioned that you worked at Delia's
14   the same rate.                                             14   for 18 years, correct?
15      Q. So let me ask you a little bit about that.           15      A. Yes.
16   What you described was that before the timekeeping         16      Q. And that was the only time you received any
17   system was put into place in 2017?                         17   sort of warning or anything like that?
18      A. Yes.                                                 18      A. Yes.
19      Q. Okay. So let's talk about 2017 forward. Okay?        19      Q. So you felt comfortable working at Delia's?
20      A. Okay.                                                20      A. Yes.
21      Q. From 2017, when the timekeeping system was put       21      Q. It was a good job?
22   into place, through the end of your employment, you        22      A. Oh, yes.
23   received overtime pay, correct?                            23      Q. You were treated with respect while working at
24      A. Yes.                                                 24   Delia's?
25      Q. Okay. And, again, that was -- your last day of       25      A. Well, you could say yes. I mean, we did have
                                                      Page 27                                                           Page 29

                                                                                                         8 (Pages 26 - 29)
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Case 7:23-cv-00343 Document 49-6 Filed on 10/18/24 in TXSD Page 8 of 8

 1         I, MIGUEL CABALLERO, have read the foregoing                        1             I further certify that pursuant to
   deposition and hereby affix my signature that same is                           FRCP Rule 30(f)(1) that the signature of the deponent:
                                                                               2
 2 true and correct, except as noted above.
                                                                                            __X__ was requested by the deponent or a
 3                                                                             3 party before the completion of the deposition and that
 4                                                                               the signature is to be before any notary public and
 5              _________________________________                              4 returned within 30 days from date of receipt of the
                MIGUEL CABALLERO                                                 transcript. If returned, the attached Changes and
 6                                                                             5 Signature Page contains any changes and the reasons
 7                                                                               therefor;
                                                                               6
 8 THE STATE OF TEXAS )
                                                                                            _____ was not requested by the deponent
 9 COUNTY OF _____________)                                                    7 or a party before the completion of the deposition.
10            Before me, ________________________, on                          8               I further certify that I am neither
   this day personally appeared MIGUEL CABALLERO, known to                       counsel for, related to, nor employed by any of the
11 me (or proved to me under oath or through                                   9 parties or attorney in the action in which this
   ______________________)(description of identity card or                       proceeding was taken, and further that I am not
12 other document) to be the person whose name is                             10 financially or otherwise interested in the outcome of
                                                                                 the action.
   subscribed to the foregoing instrument and acknowledged                    11
13 to me that they executed the same for the purposes and                     12            Certified to by me this July 11, 2024.
   consideration therein expressed.                                           13
14                                                                            14
                Given under my hand and seal of                               15
15 office this ______ day of ________________, 2024.                                           <%32255,Signature%>
                                                                              16               Priscilla Maldonado, CSR 12025
16
                                                                                               Expiration Date: 06-30-2025
17                                                                            17               Veritext Legal Solutions
           ___________________________________________                                         Firm Registration No. 571
18         Notary Public in and for the State of Texas                        18               300 Throckmorton Street, Suite 1600
19                                                                                             Fort Worth, Texas 76102
20                                                                            19               817-336-3042
21                                                                            20
                                                                              21
22
                                                                              22
23                                                                            23
24                                                                            24
25   Job No. HOU6734283                                                       25
                                                           Page 46                                                                          Page 48
 1         IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS                                  1 RICARDO GONZALEZ
 2             MCALLEN DIVISION
 3    JUANA CRUZ, OFELIA        )                                              2 RIC@OXFORDGONZALEZ.COM
      BENAVIDES, JOSE ELIAS        )
 4    N.G, GABRIELA VELAZQUEZ, )                                               3                  July 11, 2024
      HELESIO CRUZ, ANGELICA )
 5    CHAVEZ, CONCEPCION PEREZ, )
                                                                               4 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
      OLGA PEREZ, MAVRIGO            )
 6    SAENZ, JORGE MAOLEON,            )
                                                                               5     6/26/2024, Miguel Caballero (#6734283)
      HECTOR SANCHEZ, HECTOR )                                                 6     The above-referenced transcript is available for
 7    GONZALEZ, YESSY PEREZ            )
      MARTINEZ, MARIA DE          )                                            7 review.
 8    LOURDES CRUZ, RESENDO              )
      LIEVANOS, ELIZABETH LARA, )                                              8     Within the applicable timeframe, the witness should
 9    LUIS ALBERTO ZUNIGIA          )
      CASTILLO, MIGUEL        )                                                9 read the testimony to verify its accuracy. If there are
10    CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343
      DANIEL LOPEZ, GILDA        )                                            10 any changes, the witness should note those with the
11    RIVAS, ARMANDO MORALES DE )          JURY DEMANDED
      LLANO, LAZARO GARCIA,            )                                      11 reason, on the attached Errata Sheet.
12    MARIA DE JESUS MEDINA, )
      RICHARD ESQUIVEL, RAFAEL )                                              12     The witness should sign the Acknowledgment of
13    SANCHEZ, GUILLERMO RUIZ, )
      ROSA QUINTANILLA,         )                                             13 Deponent and Errata and return to the deposing attorney.
14                  )
             PLAINTIFFS, )                                                    14 Copies should be sent to all counsel, and to Veritext at
15                  )
      VS.             )                                                       15 errata-tx@veritext.com.
16                  )
      DELGAR FOODS, LLC A/K/A )                                               16 Return completed errata within 30 days from
17    DELIA'S TAMALES,       )
                    )
                                                                              17 receipt of testimony.
18           DEFENDANT. )                                                     18 If the witness fails to do so within the time
     *******************************************************
19                                                                            19 allotted, the transcript may be used as if signed.
             REPORTER'S CERTIFICATION
20          DEPOSITION OF MIGUEL CABALLERO                                    20
                June 26, 2024
21                                                                            21
           I, Priscilla Maldonado, Certified Shorthand
22 Reporter in and for the State of Texas, hereby certify                     22            Yours,
   to the following:
23                                                                            23            Veritext Legal Solutions
                  That the witness, MIGUEL CABALLERO,
24 was duly sworn by the officer and that the transcript of                   24
   the oral deposition is a true record of the testimony
25 given by the witness;                                                      25
                                                                    Page 47                                                                 Page 49

                                                                                                                                13 (Pages 46 - 49)
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